 Case 20-11157      Doc 333     Filed 11/19/21 Entered 11/19/21 14:39:47        Desc Main
                                Document      Page 1 of 12


                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS
                                 (Eastern Division)



 In re                                             Chapter 7
 LEGACY GLOBAL SPORTS,LP,et. al.,                  Case No.20-11157-JEB; and
                                                   20-11351 through 20-11376
                      Debtors                      Jointly Administered Cases


      NOTICE OF FILING OF SECOND SUPPLEMENT TO FIRST INTERIM
 APPLICATION FOR FEES AND EXPENSES OF ACCOUNTANT TO THE TRUSTEE

        PLEASE TAKE NOTICE THAT Verdolino &Lowey,P.C., accountants to Harold B.
Murphy, Chapter 7 Trustee ofthe above-captioned debtors, has filed a second supplement to the
First Interim Applicationfor Fees and Expenses ofAccountant to the Trustee [docket number
277], attached hereto as Exhibits 1-4.

                                                  HAROLD B. MURPHY,Chapter 7 Trustee
                                                  ofLEGACY GLOBAL SPORTS,LP.

                                                  /s/ Kathleen R. Cruickshank
                                                  Kathleen R. Cruickshank(BBO #550675)
                                                  MURPHY &KING,P.C.
                                                  28 State Street Suite 3101
                                                  Boston, Massachusetts 02109
                                                  Tel: 617-423-0400
                                                  Fax: 617-423-0498
Dated: November 19, 2021                          Email: kcruickshank(a~murphvking com
Case 20-11157   Doc 333   Filed 11/19/21 Entered 11/19/21 14:39:47   Desc Main
                          Document      Page 2 of 12



                               EXHIBIT 1
           Case 20-11157               Doc 333          Filed 11/19/21 Entered 11/19/21 14:39:47                                Desc Main
                                                        Document      Page 3 of 12
                    Case 20-11157           Doc 94        Filed 08/18/20 Entered 08/18/2013:37:26                        Desc Main
                                                            Document     Page 1 of 1
           0
           N


                                                ITNITED STATES BANKRUPTCY COURT
"•         00                                      DISTRICT OF MASSACHUSETTS
                                                         EASTERN DIVISION
           `~
           ca

                In re:                                                           )
0                                                                                  Chapter 7
 v              LEGACY GLOBAL SPORTS,L.P.,1                                      ) Case No. 20-I11S7-JEB; and
                                                                                   ZO-11351 through 20-11376
 a~                                                                              ) Request for Joint Administration
                                             Debtor.
                                                                                 1 Pending
 ~
 .
.n
 v
                                  APPLICATION OF CHAPTER 7 TRUSTEE FOR AUTHORITY
s
 N                               TO RETAIN VERDOLINO & LOWEY,P.C., AS ACCOUNTANTS
 L




 V
 U
                          Harold B. Murphy,the duly appointed Chapter 7 Trustee (the "Trustee") ofthe bankruptcy
 fC
 y
                                                                                              LGS
U
                estates (the "Estates") ofLegacy Global Sport, LP ("LGS"), LGS Management,LLC,
 .
0.
                                                                                         Sales LLC,
                Manufacturing, LLC,Legacy Global Lacrosse LLC,LGS Logistics LLC,LGS Team
 A
3
0
~ ~
                                                                                                                  Premier Soccer,
02{ '~
 o v
                Premier Sports Events LLC,Massachusetts Premier Soccer LLC d/b/a Global
 G    ~
                                                                                                                          Premier
 O y
~o ~,..,
 ~ o
                Maine Premier Soccer LLC, Mass Premier Soccer in New Hampshire, LLC,Florida
~ o
                                                                                                                     in Vermont
                Soccer LLC,New York Premier Soccer LLC, Jersey Premier Soccer LLC, GPS
,~ M
  m
~
,o
  ~
,
                                                                                                                      Premier Soccer
                LLC,Rhode Island Premier Soccer LLC, Carolina Premier Soccer LLC, Georgia
 a~ ~i
.n N
—~ o
a~ ~                                                                                                     Canada LLC, Global
 ~~
.~              LLC, Global Premier Soccer Puerto Rico LLC, Global Premier Soccer
 ~ ~
 .
 V ~
                                                                                    Premier                          Soccer
 ~ ~
 O 4            Premier Soccer Oregon, Global Premier Soccer California LLC, Global
 A. iV
 ~    O
 O    a.
y a                                                                                                  tax identification number, areas
 c ~
 o ~            ~ The afTiliated debtors, along with the last four digits ofeach debtor's federal
                                                    L.P., EIN    #2834; (ii) LGS   Managem   ent, LLC,  E1N # 5401;(iii) LGS
L               follows:(i) Legacy Global Sports,
    o
 1° v                                                                                           # 0161; (v) LGS Logistics LLC,EIN
                Manufacturing LLC,EIN #5305;(iv)Legacy Global Lacrosse LLC,EIN
 u
"
a- ~,                                                       6484;   (vii) Premier  Sports  Events  LLC,  EIN  #5407;(viii) iVtassachusetts
   o            #6244;(vi) LGS Team Sales LLC,EIN #
                                      d/b/a Global Premier    Soccer,  EIN  # 6290;  (ix) Maine  Premier   Soccer LLC,EIN #0740;(x)
 ~ a            Premier Soccer LLC                                                                                    EIN #0702;(xii)New
                                                                                 (xi) Florida  Premier Soccer  LLC,
"v ~
 a ~            Mass Premier Soccer in New Hampshire, LLC,EIN #2958;
                                             ETN # 27-245   1 1 04;(xiii) Jersey Premier   Soccer  LLC,  EIN  # 0501;(xiv) GPS in
 N              York Premier Soccer LLC,
                                                                                          EIN #2841;(xvi) Carolina Premier Soccer LLC,
. ~,
.
F ~             Vermont LLC, EIN #3359;(xv)Rhode Island Premier Soccer LLC,
                                                    Premier    Soccer  LLC,  EIN  #1982;   (xviii) Global Premier Soccer Puerto Rica
                EIN # XX-XXXXXXX;(xvii) Georgia
_c ~'                                                                                     6291;(xx) Global Premier Soccer Oregon,EIN
E~ +~.
      ~c        LLC,EIN #1857;(xix) Globa] Premier Soccer Canada LLC,EIN #
                                                                   LLC,  EIN  #781  I; (xxii) Global Premier Soccer Missouri, LLC,EIN
'~
 ~    H
      v         #8242;(xxi) Global Premier Soccer California
                                                                                             Global Premier Soccer Delaware, EIN #
      y         #2782;(xxiii) Global Premier Soccer Connecticut, EIN # 6400;(xxiv)
      v                                                                        0533;  (xxvi)  Global Premier Soccer Minnesota LLC,EIN
O     X
                4703;(xxv) Globa!Premier Soccer Michigan LLC,EIN #
                                                     Soccer    Ohio  LLC,  EIN  #0022.
u ~             #5588; and (xxvii) Global Premier
~
.
   ~
 -, C
.D    N
 ~    N
 O    ~
Z w
Case 20-11157   Doc 333   Filed 11/19/21 Entered 11/19/21 14:39:47   Desc Main
                          Document      Page 4 of 12



                               EXHIBIT 2
   Case 20-11157            Doc 333        Filed 11/19/21 Entered 11/19/21 14:39:47                    Desc Main
                                           Document      Page 5 of 12



  LEGACY GLOBAL SPORTS                                                                                      Exhibit II

 Statement of Services - Verdolino &Lowey, P.C, as of June 30, 2021

  Date                              Descri tion                             Staff       Hours       Rate         Fees

 07/13/20 Preparing spreadsheet of company owned vehicles.
          spreadsheet for Vehicles,                                         Robert         1.6    $215.00     $344.00
 07/13/20 Preparing spreadsheet of company owned vehicles.
          spreadsheet for Vehicles.                                         Robert         2.1    $215.00     $451.50
 07/15/20 Creating inventory of bank statements.                            Robert         4.4    $215.00     $946.00
 07/16/20 Creating inventory of bank statements.                            Robert         6.3    $215.00   $1,354.50
 07/17/20 Attention to legal letter, gather 341 notice and related
          pleadings; email to counsel re: same.                             FI nn, WI      0.4   $370.00      $148.00
 07/17/20 Creating inventory of bank statements.                            Robert         2.2   $215.00      $473.00
 07/22/20 TCW American Express to obtain refund and cancel card.            Robert         0.4   $215.00       $86.00
 07/28/20 Picking up computers from WePay in Boston                         Robert         2.5   $215.00      $537.50
 07/31/20 Follow up email to K. Cruickshank re: petty cash.                 Abate          0.1   $270.00       $27.00
 07/37/20 Discussion with R. Cotnoir re: online access to bank accounts.
                                                                           Abate           0,3   $270.00       $81.00
 07/31/20 Discussion with T. McDonald re: online access to bank
           accounts.                                                       Abate          0,2    $270.00       $54.00
08/04/20 Confirming case name for Cashiers check.                          Abate          0.1    $270,00       $27.00
08/05/20 Email re: cashiets check.                                         Abate          0.1    $270.00       $27.00
 OS/06/20 Updating bank statement inventory                                Robert         7,4    $215.00    $1,591.00
08/07/20 Email M. Spanos re: checks being forvvarded for deposit.          Abate          0,1    $270.00       $27.00
08110/20 Updating bank Statement inventory                                 Robert         7.0    $215.00    $1,505,00
08/11/20 Updating bank statement Inventory                                 Robert         2.7    $215.00      $580.50
OBN2/20 TCW K. Cruickshank re: safe of assets and information for a
          data room.                                                       FI nn, M       0.4    $370.00      $148.00
08/12/20 TCW K. Cruickshank, C. Jalbert, and M. Saperstein to discuss
          potential sale of assets and related issues.                     FI nn, M       0.4    $370.00      $148.00
08/12/20 Discussions with R. Cotnoir re: bank statement inventory and
          issues downloading same.                                         Flynn, M       0.2    $370.00       $74.00
08/12/20 Review of files and emalis re: data for potential asset sale;
          discussions with C. Jablert re: Same.                            FI nn, M       0.9    $370.00      $333.00
08/12/20 Emails and TCWs F. Osborne re: data back-up received.             FI nn, M       0.2    $370.00       $74.00
08/12/20 Review of draft motion to sell.                                   Flynn, M       0.2    $370.00       $74.00
08/13/20 Making a Preference and Insiders Analysis spreadsheet; Find
         Insiders, Relatives (n SOFA. Made Insiders spreadsheet
                                                                           Robert         4.1    $215.00     $881.50
08!13/20 Updating bank statement inventory; opening mail                   Robert         1.0    $215.00     $215.00
08/14/20 Review of and discuss bank statement and inventory with R.
         Cotnoir and E. Abate.                                             Flynn, M       0.1    $370.00       $37,00
08!14/20 Discuss notices and mail with M. Robert.                          Flynn, M       0.1    $370.00       $37.00
08/17/20 EMail to K. Cruickshank re; auto accident claim and server
         information.                                                      Flynn, M       0.1    $370.00      $37.00
08/18/20 Reviewing bank statement inventory                                Robert         1.3    $215.00     $279.50
D8/19/20 Review and discuss bank statements and inventory of same
         with R. Cotnoir.                                                  FI nn, M       0.6    $370.00     $222.00
08/19/20 Reviewing Preference Analysis                                     Robert         0.3    $215.00      $64.50
08/20/20 Review of mail and checks received; discussion with R. Cotnoir
         re: bank records.                                                 FI nn, M       0.3    $370.00     $111.00
08/20/20 Updating bank statement inventory                                 Robert         1.6    X215.00     $344.00
08/25/20 Emails to P. Bley re: information search re: AR balances.         Flynn, M       0.2    $370.00      $74.00
08/31/20 Email to K. Cruickshank re: safes and access to same.             FI nn, M       0.1    $370.00      $37.00



                                                       Page 1 of 3
    Case 20-11157             Doc 333         Filed 11/19/21 Entered 11/19/21 14:39:47                       Desc Main
                                              Document      Page 6 of 12



  LEGACY GLOBAL SPORTS                                                                                            Exhibit II

  Statement of Services - Verdolino &Lowey,P.C, as of June 30, 2021

   Date                                 Description                            Staff      Hours       Rate    ~        Fees
   09/28/20 TCW K. Cruickshank, T. McDonaid, P. Cotto, and M.
             Saperstein re: software and auction information; inicues follow-
             up with T. McDonald and P. Cotoo.                                 FI nn, M      0.5    $385.00         $192.5Q
  09/28/20 Conference call to discuss upcoming LGS auction.                    McDonald      0.4    $335.00         $134.00
  09/28/20 Call with David Head of Murphy King to discuss LGS IP
             electronic records and related systems and about setting a
             demo of their PSE registrat(on system for a potential buyer.      McDonald      0.4    $335.00         $134.00
  09/29/20 Call with potential buyer of Legacy's PSE registration system to
             go over tech specs of this system and what exactly he would
             be getting if he purchases, etc.                                  McDonald      0.4    $335.00         $134.00
  09/30/20 Continued working on LGS bankruptcy auction related items
           (mainly involving the PSE Registration system).                     McDonald      2.6    $335.00         $871.00
  10/01/20 Continued working     on LGS   bankruptcy  auction  related items
           (mosry to do with the PSE registration system).                     McDonald      3.1    $335.00       $1,038.50
  10/02/20 Continued working on LGS PSE system items and trying to set
             up a demo of this system for high bidder at yesterday's
             bankruptcy auction                                                McDonald      3.1    X335.00       $1,038.50
  10/05/20 Hosted Zoom meeting with potential buyer of LGS PSE
            Registration/Booking system to give them a demo of the
            sysiem.                                                            McDonald      0.9   $335,00          $301.50
  10/05/20 Continued working on locating and preparing a~i of the PSE
            system deliverables for the lGS bankruptcy auction.
            Pertormed more searches of LGS electronic records for Kate
            ~•                                                                McDonald      2.1    $335.00          $703.50
 70/06/20 Continued working to produce all LGS deliverables from
            bankrutpcy auction.                                               McDonald      2.4    $335.00          $804.00
 10/07/20 Continued working to collect and prepare all PSE System
            related deliverables for transfer to buyer after close.           McDonald      2.2    $335.00         $737.00
 10/08/20 Continued working on Legacy PSE Registration System and
           asset deliverables for buyer.                                      McDonald      1.2    $335.00         $402.00
 10/09/20 Assisted buyer of PSE Registration System with transfer of the
           system's source code and training materials/documentation.
                                                                              McDonald      1.7    $335.00         $368.50
 10/09/20 Began working to transfer all LGS Europe realated electronic
           records to buyer of those assets.                                  McDonald      0.9    $335.00         $301.50
10/12/20 Continued compiling and copying LGS Europe electronic
           records to portable drive for Joe St. Pierre.                     McDonald       1.1    $335.00         $368.50
10/12/20 Uploaded more PSE System related electronic records to
           buyer's Google Drive account.                                     McDonald       0.4    $335.00         $134,00
10/12/20 Downloaded LGS Europe customer data exported by AWS
          consultant Kathleen Hams from her Box.com account to V&L
          network.                                                           McDonald       0.3    $335.00         $100.50
10!13/20 Continued working with PSE System buyer to produce all LGS
          electronic records he is entitled to and has requested.            McDonald       0.4    $335.00         $134,00
10!14/20 Finished copying LGS Europe electronic records to encrypted
          flash drive and ovemighted that to John St. Pierre as per his
          request.                                                           McDonald       0.6    $335.00         $201.00
10/14!20 Continued working with PSE System buyer to compile and
          transfer all LGS electronic records and documentation he is
          entitled to.                                                       McDonald       0.6    $335.00         $201.00




                                                          Page 2 of 3
   Case 20-11157             Doc 333        Filed 11/19/21 Entered 11/19/21 14:39:47                   Desc Main
                                            Document      Page 7 of 12



  LEGACY GLOBAL SPORTS                                                                                       Exhibit II

  Statement of Services - Verdolino &Lowey, P.C. as of June 30, 2021

   Date                                 Descrlptlon                          Staff      Hours       Rate          Fees
   10/15/20 Continued working with PSE System buyer to transfer all of this
             system`s electonlc records and documentation over to him.
             Also, put him in touch with I.GS AWS consultant so that she
             can give him a quote to assist him with transferring these
             systems over to a new AWS account.                              McDonald      0.3    $335,00       $100.50
  10/16/20 Set up email forwarding on a few more LGS Office 365
             accounts as per Sergel Zak's request.                           McDonald      0.4    $335.00      $134.00
  10/29/20 Call with AWS consultant regarding LGS/PSE system backup
             status and transition to PSE buyer.                             McDonald      0.3    $335.00      $100.50
  10/30/20 Call with PSE System buyer to notifiy him AWS access is going
             away soon so he needs to transfer the system to his own AWS
             account ASAP.                                                  McDonald       0.3   $335.00       $100,50
  11/09/20 Setup more Legacy Europe email accounts to forward to
             Sergef Zak as per his request. Downloaded and uploaded
             more LGS Europe email accounts to his Googie Drive as well/
                                                                            McDonald       0.6   $335.00       $201.00
  11/71/20 Email A. Spanos re: checks received.                             Abate          0.1   $295.00        $29,50
 11/11/20 Discussion with E. Abate re: AMEX refund and related account
            statements.                                                     Flynn, M       0.1   $385.00         $38.50
 11!16120 Call with PSE system buyer to discuss permanently removing
            PSE data from Legacy's AWS account now that he has a good
            backup of everything he will need going forvvard.
                                                                            McDonald      0.2    $335.00        $67.00
   1/
 1 23/20 Emails     and TCW    T. McDonald  re: refund  check and related
            issues.                                                         Flynn, M      ~0.2   $3$5.00        $77.00
 1 1/30/20 Made some DNS changes requested by PSE System buyer for
            PSE related domains.                                            McDonald      0.2    $335.00        $67.00
 12/03/20 Began working on transferring PSE domain names over to
            buyer of that system.                                           McDonald      0.4    $335.00       $134.00
12/04/20 Continued working with PSE system buyer to transfer all PSE
           related domain names over to his new account.                   McDonald       0.3    $335.00       X100.50
'!2/10/20 Calls wish Kate C. and AWS consultant Kathleen Harris to
           discuss Legacy's AWS account.                                   McDonald       0.6    $335.00       $201.00
02/04/21 Began researching subpoena request sent to me by Kate C.
           regarding LG5 Goog~e electronic records.                        McDonald       0.3    $335.00      $100.50
02/24/21 Email to T. McDonald re: electornic records issues concering
           subpoena.                                                       Flynn, M       0.1    $385.00        $38.50
02/24/21 Reviewed LGS G-Suite account and called Kate C. to discuss
           as per her request.                                             McDonald       0.4    $335.00      $134.00
03/10/21 Renewed some LGS domain names that were expiring at Kate
          C's request.                                                    McDonald        0.2    $335.00       $67.00
03/23/21   Forwarding  former   employee  a copy  of their W2.            Abate           0.1    $295.00       $29.50

          Total Hours and Fees                                                           79.8               $21,470.50




                                                        Page 3 of 3
Case 20-11157   Doc 333   Filed 11/19/21 Entered 11/19/21 14:39:47   Desc Main
                          Document      Page 8 of 12



                               EXHIBIT 3
Case 20-11157   Doc 333   Filed 11/19/21 Entered 11/19/21 14:39:47   Desc Main
                          Document      Page 9 of 12




 LEGACY GLOBAL SPORTS, L.P.                                 Exhibit III
 Chapter 7; Case No. 20-11157-JEB                         Page 1 of 2



 Selected Biographical Data of Accountants


 Matthew R. Flynn, CPA, CFF, CIRA - Manager; Verdolino & Lowey,
      P.C., Certified Public Accountants

      Matthew joined Verdolino & Lowey, P.C. in 1999 and is a
      department manager central to the successful operation of
      V&L's bankruptcy areao He specializes in bankruptcy-
      related work, including promulgation of debtor schedules
      and statements of financial affairs; fraud investigations
      both ~n and outside of the bankruptcy arenas preference and
      avoidance action analyses, claims analyses and preparation
      of Ch. 11 operating reports, Matthew regularly assumes fihe
      lead role in high profile cases across all disciplines with
      responsibilities which can include forensic accounting;
      business liquidations; litigation support; records
      reconstruction; financial accounting and reporting;
      budgeting; and cash flow analysis. Matthew graduated from
      Saint Anselm College, and has been a CPA since 2003,
      received his Certification in Financial Forensics in 2008,
      and became a Certified Insolvency and Restructuring Advisor
      in December 2012.


 Tim McDonald - Computer Forensic Analyst - Verdolino & Lowey,
      P.C., Certified Public Accountants

      Tim joined Verdolino and Lowey, P.C. in 2012 as a Computer
      Forensic Examiner/Systems Analyst. His current duties
      involve handling e-discovery, computer forensics, and data
      recovery-related cases. He also handles network security
      and assists in systems administration. Tim graduated from
      Excelsior College with a Bachelor of Science in Computer
      Information Systems and holds the following certifications:
      Encase Certified Examiner, Microsoft Certified Systems
      Engineer, and Microsoft Certified Professional.
Case 20-11157   Doc 333   Filed 11/19/21 Entered 11/19/21 14:39:47   Desc Main
                          Document      Page 10 of 12




 LEGACY GLOBAL SPORTS, L.P.                                  Exhibit III
 Chapter 7; Case No. 20-11157-JEB                            Page 2 of 2



 Selected Biographical Data of Accountants


 Emily Abate, Bankruptcy Accounting Assistant- Verdolino & Lowey,
      P.C., Certified Public Accountants

      Emily joined Verdolino & Lowey in January of 2015 as an intern
      and became a full-time employee in May of 2015 upon her
      graduation from The University of Alabama with a Bachelor of
      Science in Accounting. She works primarily on detailed data
      entry tasks, in connection. with preference and claims
      analyses,  on records inventory      &   review, on account
      reconciliations and compilation of data associated with
      certain reporting, as well as on a variety of other project
      specific detail-oriented tasks. Emily also assists the team
      working with high net-worth private clients and on special
      projects related to Family Office administration when
      necessary and is a prime contact for outside parties in
      numerous bankruptcy and liquidation matters.


 Michael Robert, Bankruptcy Accounting Assistant- Verdolino &
      Lowey, P.C., Certified Public Accountants

      Mike joined Verdolino & Zowey in August of 2019 as a staff
      accountant. Mike works primarily on detailed data entry tasks
      in connection with the preference and claims analyses, record
      inventory & review, as well as a variety of project specific
      detail-oriented tasks. Mike received a Bachelor of Science in
      Accounting from Johnson & Wales in 2019. Prior to work at
      Verdolino & Lowey, Mike worked as an accounting clerk for two
      and a half years at Teknor Apex Company.
Case 20-11157   Doc 333   Filed 11/19/21 Entered 11/19/21 14:39:47   Desc Main
                          Document      Page 11 of 12



                               EX_ HIBIT 4
Case 20-11157   Doc 333   Filed 11/19/21 Entered 11/19/21 14:39:47    Desc Main
                          Document      Page 12 of 12




 LEGACY GLOBAL SPORTS, L.P.                                     Exhibit IV
 Chapter 7; Case No. 20-11157-JEB




 Detail of Necessary Out-of-Pocket Expenses




       Mileage, at statutory rates                               $   174.85

       Postage and delivery (Actual)                                 490.96

       Storage6                                                   1,452.00

       Cost of W-2 preparation (Actual)                              333.10

       Communication (Actual)                                         17.16

      Copying ($0.15 per page)                                        31.05

      Total Expenses                                             $2,116.09




6     The Accountants were storing 88 boxes of Debtor records that are being
retained to administer the Estate since August 2020. The Accountants charge
$1.50 per box per month which is the per box pro-rata estimated cost of
maintaining the warehouse and related personnel. The monthly charges are
less than well-known document storage facilities would charge because the
charge includes access to the records, delivery and pick-up within eastern
Massachusetts and use of offices and copy machine to the extent required by
any party to the case without further cost, except for the cost of copying,
the initial pick-up, inventory of records and disposal.
